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                         UNITED STATES DISTRICT COURT
                    FOR THE SOUTHERN DISTRICT OF NEW YORK

                                      §
                                      §
MICHAEL SAMS,                         § Case No.: 1:21-cv-09572
                                      §
                    Plaintiff,        §
                                      §
             vs.                      §
                                      § NOTICE OF VOLUNTARY DISMISSAL
TEEKAY LNG PARTNERS L.P., TEEKAY
                                      § PURSUANT TO F.R.C.P. 41(a)(1)(A)(i)
GP L.L.C., KENNETH HVID, C. SEAN DAY,
                                      §
ALAN SEMPLE, DAVID SCHELLENBERG,
                                      §
RICHARD D. PATERSON, and SYLVIA
                                      §
BARNES,
                                      §
                                      §
                 Defendants.
                                      §
                                      §


       Notice is hereby given that, pursuant to Rule 41(a)(1)(A)(i) of the Federal Rules of Civil

Procedure, plaintiff Michael Sams (“Plaintiff”) voluntarily dismisses this action without prejudice.

This notice of dismissal is being filed before service by Defendants of either an answer or a motion

for summary judgment. Plaintiff’s dismissal of this Action is effective upon filing of this notice.


 Dated: November 30, 2021                      BRODSKY SMITH

                                         By: /s/ Evan J. Smith
                                             Evan J. Smith
                                             240 Mineola Boulevard
                                             Mineola, NY 11501
                                             Phone: (516) 741-4977
                                             Facsimile (561) 741-0626

                                               Attorneys for Plaintiff
